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12
                                UNITED STATES DISTRICT COURT
13

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                      OAKLAND DIVISION

16   FINJAN, INC., a Delaware Corporation,       Case No: 4:17-cv-04790-HSG
17                        Plaintiff,             DEFENDANTS’ JOINDER TO FINJAN,
                                                 INC’S REQUEST FOR JUDICIAL
18           v.                                  NOTICE RE: CLAIM CONSTRUCTION
19   BITDEFENDER INC., a Florida Corporation,
     and BITDEFENDER S.R.L., a Romanian
20   Corporation,
21                        Defendants.
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     DEFENDANTS’ JOINDER TO FINJAN’S REQUEST
     FOR JUDICIAL NOTICE RE CLAIM CONSTRUCTION                     Case No. 4:17-cv-04790-HSG

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 1       BITDEFENDER’S JOINDER TO FINJAN’S REQUEST FOR JUDICIAL NOTICE
 2           Bitdefender Inc. and Bitdefender S.R.L. (together, “Bitdefender”) join in Finjan, Inc.’s
 3
     (“Finjan”) Request for Judicial Notice of the Claim Construction Order issued by Judge Freeman,
 4
     attached hereto as Exhibit A, issued in the case Finjan, Inc. v. Cisco Systems, Inc., No. 17-cv-
 5
     00072-BLF (N.D. Cal.) on July 23, 2018. That Order construes terms from U.S. Patent Nos.
 6

 7   8,141,154 (“the ’154 Patent”), 8,677,494 (“the ’494 Patent”), and 6,804,780 (“the ’780 patent”),

 8   on which this Court held a claim construction hearing on June 6, 2018.

 9           As Finjan noted in its Request, “the Supreme Court has stressed the particular importance
10
     of intrajurisdictional uniformity in claim construction.” Finjan, Inc. v. Symantec Corp., No. 14-
11
     cv-01998-HSG, 2017 WL 550453, at *3 (citing Markman v. Westview Instruments, Inc., 517 U.S.
12
     370, 384 (1996)). The interest in uniformity would seem to weigh most heavily where, as here, a
13
     court in this District issues a claim construction order shortly before another is likely to be issued
14

15   in the same jurisdiction with few if any intervening legal developments. See Rambus v. Hynix

16   Semiconductor Inc., 569 F. Supp. 2d 946, 965 (N.D. Cal. 2008) (surveying cases including one
17   promoting “considerable deference . . . to . . . prior decisions unless overruled or undermined by
18
     subsequent legal developments” (citing Sears Petroleum & Transport Corp. v. Archer Daniels
19
     Midland Co., No. 5:03-CV-1120 (DEP), 2007 WL 2156251, at *8 (N.D.N.Y. July 24, 2007)).
20
             Though Finjan asserted the importance of intrajurisdictional uniformity in its Request,
21

22   Finjan did not elaborate on how Bitdefender’s and Finjan’s proposed constructions are similar to,

23   or different from, the constructions adopted in the Cisco Order. The terms at issue, constructions

24   adopted by the Cisco court, and constructions proposed by Bitdefender and Finjan are
25   summarized in the following table for the convenience of the court:
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 1   Patent        Term from Cisco        Cisco Court’s        Bitdefender’s        Finjan’s
     (Claims)      that is Identical or   Adopted              Proposed             Proposed
 2                 Similar to Term at     Construction         Construction         Construction
 3                 Issue in this Case
     ’154          “first function” /     “substitute          “a programmatic      No construction
 4   (1,4)         “second function”      function” /          statement or         necessary—Plain
                                          “original            instruction in the   and ordinary
 5                                        function, which is   content, coded as    meaning / No
                                          different than the   the name of a        construction
 6
                                          first function”      function along       necessary—Plain
 7                                                             with any             and ordinary
                                                               parameters           meaning
 8                                                             needed for the
                                                               function to
 9                                                             perform its task,
                                                               requesting the
10
                                                               services of a
11                                                             substitute
                                                               function that was
12                                                             replaced for an
                                                               original function
13                                                             within the
14                                                             content, at a
                                                               gateway
15                                                             computer, prior to
                                                               the content being
16                                                             received at the
                                                               client computer” /
17                                                             “the original
18                                                             function that was
                                                               replaced with the
19                                                             previously
                                                               identified
20                                                             substitute
                                                               function call
21                                                             within the
22                                                             content, at a
                                                               gateway
23                                                             computer, prior to
                                                               the content being
24                                                             received at the
                                                               client computer”
25
     ’494          “Downloadable          “software that       This phrase          No construction
26   (10)          scanner”               searches code to     should be            necessary—Plain
                                          identify             construed            and ordinary
27                                        suspicious           pursuant to 35       meaning
                                          patterns or          U.S.C. § 112(6)
28
     DEFENDANTS’ JOINDER TO FINJAN’S REQUEST                                   Case No. 4:17-cv-04790-HSG
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 1                                     suspicious          to cover the
                                       computer            corresponding
 2                                     operations”         structure
 3                                                         disclosed in the
                                                           ’494 patent,
 4                                                         namely the code
                                                           scanner referred
 5                                                         to in the ’194
                                                           patent at 5:36–57,
 6
                                                           9:20–33, and Fig.
 7                                                         7, and
                                                           equivalents.
 8
                                                           Alternatively, “a
 9                                                         code scanner that
                                                           uses parsing
10
                                                           techniques to
11                                                         decompose code
                                                           into constituent
12                                                         operations and
                                                           identifies
13                                                         specified
                                                           operations or
14
                                                           patterns of
15                                                         operations”
     ’780        “performing a         “performing a       “performing a        “performing a
16   (1,9,17,18) hashing function on   hashing function    hashing function     hashing function
                 the Downloadable      on the              that operates        on the
17               together with its     Downloadable        across the           Downloadable
18               fetched software      together with its   combination of a     together with its
                 components to         fetched software    Downloadable         fetched software
19               generate a            components to       together with its    components to
                 Downloadable ID”      generate a unique   fetched software     generate a
20                                     and reproducible    components to        Downloadable ID”
                                       ID for that         transmute the
21                                     Downloadable”       Downloadable
22                                                         and its fetched
                                                           components into a
23                                                         unique and
                                                           reproducible ID
24                                                         for that
                                                           Downloadable”
25

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     DEFENDANTS’ JOINDER TO FINJAN’S REQUEST                               Case No. 4:17-cv-04790-HSG
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 1
     Dated: August 7, 2018                KALPANA SRINIVASAN
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                                   By:   /s/ Michael Adamson
 6                                         Michael Adamson
 7                                        Attorneys for Defendants Bitdefender S.R.L. and
                                          Bitdefender Inc.
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     DEFENDANTS’ JOINDER TO FINJAN’S REQUEST                         Case No. 4:17-cv-04790-HSG
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